                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:91CR86

                                                  )
UNITED STATES OF AMERICA                          )
                                                  )
               vs.                                )           ORDER
                                                  )
CLYNTON JOHN CHASE                                )
                                                  )

       THIS MATTER IS BEFORE THE COURT on its own motion to continue this matter
from the April 19, 2007 criminal sentencing term in the Charlotte Division.

        The above captioned matter is hereby reset for sentencing on April 25, 2007, at 10:00
a.m. in the Charlotte Division.

       The Clerk is directed to certify copies of this order to defendant, counsel for defendant, to
the United States Attorney, the United States Marshals Service, and the U.S. Probation Office.

       IT IS SO ORDERED.


                                                      Signed: April 11, 2007




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